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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

T.W. and K.W. as Parents and Legal           :
Guardians of JANE DOE, a Minor               :      Case No. 1:18cv668
                                             :
                Plaintiff,                   :      Judge Timothy S. Black
                                             :
v.                                           :
                                             :
FINNEYTOWN LOCAL SCHOOL                      :
DISTRICT, et al.,                            :
                                             :
                Defendants.                  :


                    ANSWER OF DEFENDANT, FRANK MCPHERSON,
                       TO PLAINTIFFS’ AMENDED COMPLAINT


     COMES NOW Defendant, Frank McPherson, by and through counsel, and for his Answer to

Plaintiffs’ Amended Complaint states as follows:

     1. This Defendant denies the allegations in paragraph 1 of Plaintiffs’ Amended Complaint.

     2. This Defendant denies the allegations in paragraph 2 of Plaintiffs’ Amended Complaint for

        want of knowledge.

     3. This Defendants admits Defendant Finneytown Local School District (hereinafter

        “FLSD”) is a public local school district and a political subdivision, but denies all

        remaining allegations in paragraph 3 of Plaintiffs’ Amended Complaint.

     4. This Defendant denies the allegations in paragraph 4 of Plaintiffs’ Amended Complaint for

        want of knowledge.

     5. This Defendant admits FLSD Board of Education is the governing body for FLSD.
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6. To the extent any allegations are made in paragraph 6 of Plaintiffs’ Amended Complaint,

   this Defendant denies those allegations.

7. This Defendant denies the allegations in paragraph 7 of Plaintiffs’ Amended Complaint for

   want of knowledge.

8. This Defendant denies the allegations in paragraph 8 of Plaintiffs’ Amended Complaint for

   want of knowledge.

9. This Defendant denies the allegations in paragraph 9 of Plaintiffs’ Amended Complaint for

   want of knowledge.

10. This Defendants denies the allegations in paragraph 10 of Plaintiffs’ Amended Complaint

   for want of knowledge.

11. This Defendant denies the allegations in paragraph 11 of Plaintiffs’ Amended Complaint

   for want of knowledge.

12. This Defendant denies the allegations in paragraph 12 of Plaintiffs’ Amended Complaint

   for want of knowledge.

13. This Defendant denies the allegations in paragraph 13 of Plaintiffs’ Amended Complaint

   for want of knowledge.

14. This Defendant denies the allegations in paragraph 14 of Plaintiffs’ Amended Complaint

   for want of knowledge.

15. This Defendant denies the allegations in paragraph 15 of Plaintiffs’ Amended Complaint

   for want of knowledge.

16. This Defendant denies the allegations in paragraph 16 of Plaintiffs’ Amended Complaint

   for want of knowledge.


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17. This Defendant denies the allegations in paragraph 17 of Plaintiffs’ Amended Complaint

   for want of knowledge.

18. This Defendant denies the allegations in paragraph 18 of Plaintiffs’ Amended Complaint

   for want of knowledge.

19. This Defendant denies the allegations in paragraph 19 of Plaintiffs’ Amended Complaint

   for want of knowledge.

20. This Defendant denies the allegations in paragraph 20 of Plaintiffs’ Amended Complaint

   for want of knowledge.

21. This Defendant denies the allegations in paragraph 21 of Plaintiffs’ Amended Complaint

   for want of knowledge.

22. This Defendant denies the allegations in paragraph 22 of Plaintiffs’ Amended Complaint

   for want of knowledge.

23. This Defendant denies the allegations in paragraph 23 of Plaintiffs’ Amended Complaint

   for want of knowledge.

24. This Defendant denies the allegations in paragraph 24 of Plaintiffs’ Amended Complaint

   for want of knowledge.

25. This Defendant denies the allegations in paragraph 25 of Plaintiffs’ Amended Complaint

   for want of knowledge.

26. This Defendant denies the allegations in paragraph 26 of Plaintiffs’ Amended Complaint

   for want of knowledge.

27. This Defendant denies the allegations in paragraph 27 of Plaintiffs’ Amended Complaint

   for want of knowledge.


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28. This Defendant denies the allegations in paragraph 28 of Plaintiffs’ Amended Complaint

   for want of knowledge.

29. This Defendant denies the allegations in paragraph 29 of Plaintiffs’ Amended Complaint

   for want of knowledge.

30. This Defendant denies the allegations in paragraph 30 of Plaintiffs’ Amended Complaint

   for want of knowledge.

31. This Defendant denies the allegations in paragraph 31 of Plaintiffs’ Amended Complaint

   for want of knowledge.

32. This Defendant denies the allegations in paragraph 32 of Plaintiffs’ Amended Complaint

   for want of knowledge.

33. This Defendant denies the allegations in paragraph 33 of Plaintiffs’ Amended Complaint

   and states that while serving as a school resource officer (“SRO”) for the FLSD, Defendant

   McPherson would have been a law enforcement officer of the Springfield Township Police

   Department and an employee of Springfield Township as set forth in the true and accurate

   copy of the agreement between Springfield Township and the FLSD for the 2016-2017

   school year attached hereto as Exhibit “A” and in the true and accurate copy of the

   agreement between Springfield Township and the FLSD for the 2017-2018 school year

   attached hereto as Exhibit “B”.

34. This Defendant admits he worked as an SRO for FLSD during the 2016-2017 and 2017-

   2018 school years, but denies all remaining allegations in paragraph 34 of Plaintiffs’

   Amended Complaint.

35. This Defendant denies the allegations in paragraph 35 of Plaintiffs’ Amended Complaint.


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36. This Defendant denies the allegations in paragraph 36 of Plaintiffs’ Amended Complaint.

37. This Defendant denies he violated any rights afforded to Plaintiffs under Title IX and

   further denies any liability to Plaintiffs. This Defendant therefore denies the allegations in

   paragraph 37 of Plaintiffs’ Amended Complaint.

38. This Defendant denies he violated any of Plaintiffs’ constitutional rights and further denies

   any liability to Plaintiffs. This Defendant therefore denies the allegations in paragraph 38

   of Plaintiffs’ Amended Complaint

39. This Defendant denies he violated any of Plaintiffs’ constitutional rights and further denies

   any liability to Plaintiffs. This Defendant therefore denies the allegations in paragraph 39

   of Plaintiffs’ Amended Complaint

40. This Defendant denies he violated any of Plaintiffs’ constitutional rights and further denies

   any liability to Plaintiffs. This Defendant therefore denies the allegations in paragraph 40

   of Plaintiffs’ Amended Complaint

41. This Defendant denies the allegations in paragraph 41 of Plaintiffs’ Amended Complaint.

42. This Defendant denies the allegations in paragraph 42 of Plaintiffs’ Amended Complaint.

43. This Defendant denies he violated any of Plaintiffs’ constitutional rights and further denies

   any liability to Plaintiffs. This Defendant therefore denies the allegations in paragraph 43

   of Plaintiffs’ Amended Complaint

44. This Defendant denies the allegations in paragraph 44 of Plaintiffs’ Amended Complaint

   for want of knowledge.

45. This Defendant denies the allegations in paragraph 45 of Plaintiffs’ Amended Complaint

   for want of knowledge.


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46. This Defendant denies the allegations in paragraph 46 of Plaintiffs’ Amended Complaint

   for want of knowledge.

47. This Defendant denies the allegations in paragraph 47 of Plaintiffs’ Amended Complaint

   for want of knowledge.

48. This Defendant denies the allegations in paragraph 48 of Plaintiffs’ Amended Complaint

   for want of knowledge.

49. This Defendant denies the allegations in paragraph 49 of Plaintiffs’ Amended Complaint

   for want of knowledge.

50. This Defendant denies the allegations in paragraph 50 of Plaintiffs’ Amended Complaint

   for want of knowledge.

51. This Defendant denies the allegations in paragraph 51 of Plaintiffs’ Amended Complaint

   for want of knowledge.

52. This Defendant denies the allegations in paragraph 52 of Plaintiffs’ Amended Complaint

   for want of knowledge.

53. This Defendant states that Plaintiffs’ Amended Complaint does not provide any first or last

   names with respect to any of the Plaintiffs and only refers to the minor Plaintiff in this

   action as Jane Doe. Accordingly, this Defendant admits he fielded numerous complaints

   from female students during his tenure as SRO for the FLSD, but denies all remaining

   allegations in paragraph 53 of Plaintiffs’ Amended Complaint for want of knowledge.

54. This Defendant denies the allegations in paragraph 54 of Plaintiffs’ Amended Complaint

   for want of knowledge.




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55. This Defendant denies the allegations in paragraph 55 of Plaintiffs’ Amended Complaint

   for want of knowledge.

56. This Defendant denies the allegations in paragraph 56 of Plaintiffs’ Amended Complaint

   for want of knowledge.

57. This Defendant states that Plaintiffs’ Amended Complaint does not provide any first or last

   names with respect to any of the Plaintiffs and only refers to the minor Plaintiff in this

   action as Jane Doe. Accordingly, this Defendant admits he interacted with Ms. Rhiana

   Blaugher during his tenure as SRO for the FLSD, but denies all remaining allegations in

   paragraph 57 of Plaintiffs’ Amended Complaint for want of knowledge.

58. This Defendant denies the allegations in paragraph 58 of Plaintiffs’ Amended Complaint

   for want of knowledge.

59. This Defendant denies the allegations in paragraph 59 of Plaintiffs’ Amended Complaint

   for want of knowledge.

60. This Defendant denies the allegations in paragraph 60 of Plaintiffs’ Amended Complaint

   for want of knowledge.

61. This Defendant denies the allegations in paragraph 61 of Plaintiffs’ Amended Complaint

   for want of knowledge.

62. This Defendant denies the allegations in paragraph 62 of Plaintiffs’ Amended Complaint

   for want of knowledge.

63. This Defendant denies the allegations in paragraph 63 of Plaintiffs’ Amended Complaint

   for want of knowledge.




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64. This Defendant denies the allegations in paragraph 64 of Plaintiffs’ Amended Complaint

   for want of knowledge.

65. This Defendant denies the allegations in paragraph 65 of Plaintiffs’ Amended Complaint

   for want of knowledge.

66. This Defendant states that Plaintiffs’ Amended Complaint does not provide any first or last

   names with respect to any of the Plaintiffs and only refers to the minor Plaintiff in this

   action as Jane Doe.      Accordingly, this Defendant admits he talked to parents and

   grandparents regarding complaints made by female students during his tenure as SRO for

   the FLSD, but denies all remaining allegations in paragraph 66 of Plaintiffs’ Amended

   Complaint.

67. This Defendant states that Plaintiffs’ Amended Complaint does not provide any first or last

   names with respect to any of the Plaintiffs and only refers to the minor Plaintiff in this

   action as Jane Doe. This Defendant admits he was not responsible for disciplining students

   during his tenure as SRO for the FLSD, but denies all remaining allegations in paragraph

   67 of Plaintiffs’ Amended Complaint for want of knowledge.

68. This Defendant denies the allegations in paragraph 68 of Plaintiffs’ Amended Complaint

   for want of knowledge.

69. This Defendant denies the allegations in paragraph 69 of Plaintiffs’ Amended Complaint

   for want of knowledge.

70. This Defendant denies the allegations in paragraph 70 of Plaintiffs’ Amended Complaint

   for want of knowledge.




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71. This Defendant denies the allegations in paragraph 71 of Plaintiffs’ Amended Complaint

   for want of knowledge.

72. This Defendant denies the allegations in paragraph 72 of Plaintiffs’ Amended Complaint

   for want of knowledge.

73. This Defendant states that Plaintiffs’ Amended Complaint does not provide any first or last

   names with respect to any of the Plaintiffs and only refers to the minor Plaintiff in this

   action as Jane Doe. Accordingly, this Defendant denies all remaining allegations in

   paragraph 73 of Plaintiffs’ Amended Complaint for want of knowledge.

74. This Defendant denies the allegations in paragraph 74 of Plaintiffs’ Amended Complaint

   for want of knowledge.

75. This Defendant denies the allegations in paragraph 75 of Plaintiffs’ Amended Complaint

   for want of knowledge.

76. This Defendant denies the allegations in paragraph 76 of Plaintiffs’ Amended Complaint

   for want of knowledge.

77. This Defendant denies the allegations in paragraph 77 of Plaintiffs’ Amended Complaint

   for want of knowledge.

78. This Defendant denies the allegations in paragraph 78 of Plaintiffs’ Amended Complaint

   for want of knowledge.

79. This Defendant denies the allegations in paragraph 79 of Plaintiffs’ Amended Complaint

   for want of knowledge.

80. This Defendant denies the allegations in paragraph 80 of Plaintiffs’ Amended Complaint

   for want of knowledge.


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 81. This Defendant denies the allegations in paragraph 81 of Plaintiffs’ Amended Complaint

    for want of knowledge.

 82. This Defendant denies the allegations in paragraph 82 of Plaintiffs’ Amended Complaint

    for want of knowledge.

 83. This Defendant denies the allegations in paragraph 83 of Plaintiffs’ Amended Complaint

    for want of knowledge.

 84. This Defendant denies the allegations in paragraph 84 of Plaintiffs’ Amended Complaint

    for want of knowledge.

 85. This Defendant denies the allegations in paragraph 85 of Plaintiffs’ Amended Complaint

    for want of knowledge.

 86. This Defendant denies the allegations in paragraph 86 of Plaintiffs’ Amended Complaint

    for want of knowledge.

 87. This Defendant denies the allegations in paragraph 87 of Plaintiffs’ Amended Complaint

    for want of knowledge.

 88. This Defendant denies the allegations in paragraph 88 of Plaintiffs’ Amended Complaint

    for want of knowledge.

 89. This Defendant denies the allegations in paragraph 89 of Plaintiffs’ Amended Complaint

    for want of knowledge.

 90. This Defendant denies the allegations in paragraph 90 of Plaintiffs’ Amended Complaint

    for want of knowledge.

 91. This Defendant denies the allegations in paragraph 91 of Plaintiffs’ Amended Complaint

    for want of knowledge.


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 92. This Defendant denies the allegations in paragraph 92 of Plaintiffs’ Amended Complaint

    for want of knowledge.

 93. This Defendant denies the allegations in paragraph 93 of Plaintiffs’ Amended Complaint

    for want of knowledge.

 94. This Defendant denies the allegations in paragraph 94 of Plaintiffs’ Amended Complaint

    for want of knowledge.

 95. This Defendant denies the allegations in paragraph 95 of Plaintiffs’ Amended Complaint

    for want of knowledge.

 96. This Defendant denies the allegations in paragraph 96 of Plaintiffs’ Amended Complaint

    for want of knowledge.

 97. This Defendant denies the allegations in paragraph 97 of Plaintiffs’ Amended Complaint

    for want of knowledge.

 98. This Defendant denies the allegations in paragraph 98 of Plaintiffs’ Amended Complaint

    for want of knowledge.

 99. This Defendant denies the allegations in paragraph 99 of Plaintiffs’ Amended Complaint

    for want of knowledge.

 100.      This Defendant denies the allegations in paragraph 100 of Plaintiffs’ Amended

    Complaint for want of knowledge.

 101.      This Defendant denies the allegations in paragraph 101 of Plaintiffs’ Amended

    Complaint for want of knowledge.

 102.      This Defendant denies the allegations in paragraph 102 of Plaintiffs’ Amended

    Complaint for want of knowledge.


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 103.     This Defendant denies the allegations in paragraph 103 of Plaintiffs’ Amended

    Complaint for want of knowledge.

 104.     This Defendant denies the allegations in paragraph 104 of Plaintiffs’ Amended

    Complaint for want of knowledge.

 105.     This Defendant denies the allegations in paragraph 105 of Plaintiffs’ Amended

    Complaint for want of knowledge.

 106.     This Defendant denies the allegations in paragraph 106 of Plaintiffs’ Amended

    Complaint for want of knowledge.

 107.     This Defendant denies the allegations in paragraph 107 of Plaintiffs’ Amended

    Complaint for want of knowledge.

 108.     This Defendant denies the allegations in paragraph 108 of Plaintiffs’ Amended

    Complaint for want of knowledge.

 109.     This Defendant denies the allegations in paragraph 109 of Plaintiffs’ Amended

    Complaint for want of knowledge.

 110.     This Defendant denies the allegations in paragraph 110 of Plaintiffs’ Amended

    Complaint for want of knowledge.

 111.     This Defendant denies the allegations in paragraph 111 of Plaintiffs’ Amended

    Complaint for want of knowledge.

 112.     This Defendant denies the allegations in paragraph 112 of Plaintiffs’ Amended

    Complaint for want of knowledge.

 113.     This Defendant denies the allegations in paragraph 113 of Plaintiffs’ Amended

    Complaint for want of knowledge.


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                                   ANSWER TO COUNT I

 113(a).   To the extent Plaintiffs assert any allegations against this Defendant in an

    unnumbered paragraph, this Defendant incorporates herein by reference his responses to

    paragraphs 1 through 113 of Plaintiffs’ Amended Complaint as if fully rewritten.

 114.      This Defendant denies the allegations in paragraph 114 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 115.      This Defendant denies the allegations in paragraph 115 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 116.      This Defendant denies the allegations in paragraph 116 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 117.      This Defendant denies the allegations in paragraph 117 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

                                   ANSWER TO COUNT II

 117(a).   To the extent Plaintiffs assert any allegations against this Defendant in an

    unnumbered paragraph, this Defendant incorporates herein by reference his responses to

    paragraphs 1 through 117 of Plaintiffs’ Amended Complaint as if fully rewritten.

 118.      This Defendant denies the allegations in paragraph 118 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 119.      This Defendant denies the allegations in paragraph 119 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 120.      This Defendant denies the allegations in paragraph 120 of Plaintiffs’ Amended

    Complaint for want of knowledge.


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 121.      This Defendant denies the allegations in paragraph 121 of Plaintiffs’ Amended

    Complaint for want of knowledge.

 122.      This Defendant denies the allegations in paragraph 122 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 123.      This Defendant denies the allegations in paragraph 123 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 124.      This Defendant denies the allegations in paragraph 124 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 125.      This Defendant denies the allegations in paragraph 125 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 126.      This Defendant denies the allegations in paragraph 126 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 127.      This Defendant denies the allegations in paragraph 127 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

                                ANSWER TO COUNT III

 127(a).   To the extent Plaintiffs assert any allegations against this Defendant in an

    unnumbered paragraph, this Defendant incorporates herein by reference his responses to

    paragraphs 1 through 127 of Plaintiffs’ Amended Complaint as if fully rewritten.

 128.      This Defendant states paragraph 128 of Plaintiffs’ Amended Complaint is an

    incomplete statement of law. This Defendant further denies the allegations in paragraph

    128 of Plaintiffs’ Amended Complaint to the extent any are asserted against him.




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 129.      This Defendant denies the allegations in paragraph 129 of Plaintiffs’ Amended

    Complaint for want of knowledge.

 130.      This Defendant denies the allegations in paragraph 130 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 131.      This Defendant denies the allegations in paragraph 131 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 132.      This Defendant denies the allegations in paragraph 132 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

                                 ANSWER TO COUNT IV

 132(a).   To the extent Plaintiffs assert any allegations against this Defendant in an

    unnumbered paragraph, this Defendant incorporates herein by reference his responses to

    paragraphs 1 through 132 of Plaintiffs’ Amended Complaint as if fully rewritten.

 133.      This Defendant denies the allegations in paragraph 133 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 134.      This Defendant denies the allegations in paragraph 134 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 135.      This Defendant denies the allegations in paragraph 135 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 136.      This Defendant denies the allegations in paragraph 136 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.




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                                 ANSWER TO COUNT V

 136(a).   To the extent Plaintiffs assert any allegations against this Defendant in an

    unnumbered paragraph, this Defendant incorporates herein by reference his responses to

    paragraphs 1 through 136 of Plaintiffs’ Amended Complaint as if fully rewritten.

 137.      This Defendant denies the allegations in paragraph 137 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 138.      This Defendant denies the allegations in paragraph 138 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 139.      This Defendant denies the allegations in paragraph 139 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 140.      This Defendant denies the allegations in paragraph 140 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 141.      This Defendant denies the allegations in paragraph 141 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

                                 ANSWER TO COUNT VI

 141(a).   To the extent Plaintiffs assert any allegations against this Defendant in an

    unnumbered paragraph, this Defendant incorporates herein by reference his responses to

    paragraphs 1 through 141 of Plaintiffs’ Amended Complaint as if fully rewritten.

 142.      This Defendant denies the allegations in paragraph 142 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 143.      This Defendant denies the allegations in paragraph 143 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.


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 144.      This Defendant denies the allegations in paragraph 144 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 145.      This Defendant denies the allegations in paragraph 145 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 146.      This Defendant denies the allegations in paragraph 146 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 147.      This Defendant denies the allegations in paragraph 147 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 148.      This Defendant denies the allegations in paragraph 148 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

                                ANSWER TO COUNT VII

 148(a).   To the extent Plaintiffs assert any allegations against this Defendant in an

    unnumbered paragraph, this Defendant incorporates herein by reference his responses to

    paragraphs 1 through 148 of Plaintiffs’ Amended Complaint as if fully rewritten.

 149.      This Defendant denies the allegations in paragraph 149 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 150.      This Defendant denies the allegations in paragraph 150 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 151.      This Defendant denies the allegations in paragraph 151 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 152.      This Defendant denies the allegations in paragraph 152 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.


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 153.      This Defendant denies the allegations in paragraph 153 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 154.      This Defendant denies the allegations in paragraph 154 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 155.      This Defendant denies the allegations in paragraph 155 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

                                ANSWER TO COUNT VIII

 155(a).   To the extent Plaintiffs assert any allegations against this Defendant in an

    unnumbered paragraph, this Defendant incorporates herein by reference his responses to

    paragraphs 1 through 155 of Plaintiffs’ Amended Complaint as if fully rewritten.

 156.      This Defendant states paragraph 156 of Plaintiffs’ Amended Complaint is an

    incomplete statement of law. This Defendant further denies the allegations in paragraph

    156 of Plaintiffs’ Amended Complaint to the extent any are asserted against him.

 157.      This Defendant denies the allegations in paragraph 157 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 158.      This Defendant denies the allegations in paragraph 158 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 159.      This Defendant denies the allegations in paragraph 159 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 160.      This Defendant denies the allegations in paragraph 160 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.




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                                 ANSWER TO COUNT IX

 160(a).    To the extent Plaintiffs assert any allegations against this Defendant in an

    unnumbered paragraph, this Defendant incorporates herein by reference his responses to

    paragraphs 1 through 160 of Plaintiffs’ Amended Complaint as if fully rewritten.

 161.       This Defendant denies the allegations in paragraph 161 of Plaintiffs’ Amended

    Complaint.

 162.       This Defendant denies the allegations in paragraph 162 of Plaintiffs’ Amended

    Complaint.

 163.       This Defendant denies the allegations in paragraph 163 of Plaintiffs’ Amended

    Complaint.

 164.       This Defendant denies the allegations in paragraph 164 of Plaintiffs’ Amended

    Complaint.

                                 ANSWER TO COUNT X

 164 (a).   To the extent Plaintiffs assert any allegations against this Defendant in an

    unnumbered paragraph, this Defendant incorporates herein by reference his responses to

    paragraphs 1 through 164 of Plaintiffs’ Amended Complaint as if fully rewritten.

 165.       This Defendant denies the allegations in paragraph 165 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 166.       This Defendant denies the allegations in paragraph 166 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 167.       This Defendant denies the allegations in paragraph 167 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.


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 168.      This Defendant denies the allegations in paragraph 168 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 169.      This Defendant denies the allegations in paragraph 169 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 170.      This Defendant denies the allegations in paragraph 170 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 171.      This Defendant denies the allegations in paragraph 171 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 172.      This Defendant denies the allegations in paragraph 172 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 173.      This Defendant denies the allegations in paragraph 173 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 174.      This Defendant denies the allegations in paragraph 174 of Plaintiffs’ Amended

    Complaint to the extent any are asserted against him.

 175.      Further answering, this Defendant denies each and every allegation in Plaintiffs’

    Amended Complaint save such as are herein specifically admitted to be true.

                                SECOND DEFENSE

 176.      For his second and further defense herein, this Defendant states that Plaintiffs’

    Amended Complaint fails to state a claim upon which relief can be granted.




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                                   THIRD DEFENSE
 177.      For his third and further defense herein, this Defendant incorporates his responses

    as above set forth and further states Plaintiffs lack standing to assert all or some of the

    claims set forth in Plaintiffs’ Amended Complaint.

                                   FOURTH DEFENSE

 178.      For his fourth and further defense herein, this Defendant incorporates his responses

    as above set forth and further states that all or part of Plaintiffs’ claims are barred by the

    applicable statute of limitations.

                                     FIFTH DEFENSE

 179.      For his fifth and further defense herein, this Defendant incorporates his responses

    as above set forth and further states he is entitled to immunity pursuant to Ohio Revised

    Code Chapter 2744, et seq., with respect to all of Plaintiffs’ claims.

                                     SIXTH DEFENSE

 180.      For his sixth and further defense herein, this Defendant incorporates his responses

    as above set forth and further states Plaintiffs’ claims are subject to the immunities,

    defenses and limitations on damages set forth in Chapter 2744 of the Ohio Revised Code.

                                  SEVENTH DEFENSE

 181.      For his seventh and further defense herein, this Defendant incorporates his

    responses as above set forth and further states Plaintiffs have failed to mitigate their

    damages.




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                                   EIGHTH DEFENSE

 182.       For his eighth and further defense herein, this Defendant incorporates his responses

    as above set forth and further states that at all times pertinent he acted reasonably, in good

    faith, in accordance with the law, and in the exercise of his statutory duties and

    responsibilities.

                                    NINTH DEFENSE

 183.       For his ninth and further defense herein, this Defendant incorporates his responses

    as above set forth and further states he is entitled to absolute or qualified immunity.

                                    TENTH DEFENSE

 184.       For his tenth and further defense herein, this Defendant gives notice that he intends

    to assert and rely upon all affirmative defenses, immunities, avoidances, counter-claims,

    cross claims and third party claims which become available or apparent during the course

    of discovery or trial, and he hereby reserves the right to assert such defenses and/or amend

    this Answer to Plaintiffs’ Amended Complaint.

                                 ELEVENTH DEFENSE

 185.       For his eleventh and further defense herein, this Defendant incorporates his

    responses as above set forth and further states Plaintiffs’ claims are barred by virtue of the

    doctrines of res judicata, collateral estoppel, claim preclusion and/or issue preclusion.

                                  TWELFTH DEFENSE

 186.       For his twelfth and further defense herein, this Defendant incorporates his

    responses as above set forth and further states that if Plaintiffs suffered damages as alleged

    in Plaintiffs’ Amended Complaint, which is specifically denied, Plaintiffs proximately


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       caused and/or contributed to said damages by their own negligence or intentional acts,

       and/or voluntarily assumed the risk of said damages, thereby barring Plaintiffs from any

       recovery against this Defendant or diminishing any recovery by Plaintiffs against this

       Defendant.

   WHEREFORE, having fully answered, Defendant, Frank McPherson, prays that Plaintiffs’

       Amended Complaint be dismissed at Plaintiffs’ costs and that they take nothing thereby.

                                             Respectfully submitted,




                                             ______________________________
                                             Scott A. Sollmann (0081467)
                                             Lawrence E. Barbiere (0027106)
                                             Katherine L. Barbiere (0089501)
                                             SCHROEDER, MAUNDRELL, BARBIERE & POWERS
                                             5300 Socialville-Foster Road
                                             Mason, Ohio 45040
                                             T. 513-583-4200 | F. 513-583-4203
                                             ssollmann@smbplaw.com
                                             lbarbiere@smbplaw.com
                                             kbarbiere@smbplaw.com
                                             Attorneys for Defendant Frank McPherson


                                   CERTIFICATE OF SERVICE
         I hereby certify that a true and accurate copy of the foregoing was filed this 5th day of
March, 2020 using the Court’s CM/ECF electronic filing system which will send notice of such
filing to all attorneys of record.




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                                             Scott A. Sollmann

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